Case 1:23-mi-99999-UNA Document 2282-4 Filed 07/19/23 Page 1 of 2

Secretary of State Filed in the Office of the
P.O. Box 13697 Secretary of State of Texas
Austin, TX 78711-3697 Filing #: 802942772 02/22/2018
FAX: 512/463-5709 Document #: 795490000005
Certificate of Formation Image Generated Electronically

Limited Liability Company for Web Filing

Filing Fee: $300

Article 1 - Entity Name and Type
The filing entity being formed is a limited liability company. The name of the entity is:

COBRA CARRIER LLC

Article 2 — Registered Agent and Registered Office

TA. The initial registered agent is an organization (cannot be company named above) by the name of:

OR
iB. The initial registered agent is an individual resident of the state whose name is set forth below:
Name:
ANASTACIO SANCHEZ
C. The business address of the registered agent and the registered office address is:
Street Address:
1012N10THST ALAMO TX 78516

Consent of Registered Agent

TA. A copy of the consent of registered agent is attached.
OR
IB. The consent of the registered agent is maintained by the entity.
Article 3 - Governing Authority

TA. The limited liability company is to be managed by managers.
OR

IB. The limited liability company will not have managers. Management of the company is reserved to the members.
The names and addresses of the governing persons are set forth below:

Managing Member 1: ANASTACIO SANCHEZ Title: Managing Member
Address: 1012 N10TH ST ALAMO TX, USA 78516

Article 4 - Purpose

The purpose for which the company is organized is for the transaction of any and all lawful business for which limited
liability companies may be organized under the Texas Business Organizations Code.

STE] e) e) (Tat l-TAL lM ad OMAR TOLUCA LReL ELEC Lice) |

Case 1:23-mi-99999-UNA Document 2282-4 Filed 07/19/23 Page 2 of 2

[The attached addendun,, if any, is incorporated herein by reference.]

Organizer
The name and address of the organizer are set forth below.
ANASTACIO SANCHEZ 1012 N 10TH ST ALAMO, TX 78516

Sh Lex) TAA y Seco) LIL |
Iv A. This document becomes effective when the document is filed by the secretary of state.
OR

TB. This document becomes effective at a later date, which is not more than ninety (90) days from the date of its
signing. The delayed effective date is:

Execution

The undersigned affirms that the person designated as registered agent has consented to the appointment. The
undersigned signs this document subject to the penalties imposed by law for the submission of a materially false or
fraudulent instrument and certifies under penalty of perjury that the undersigned is authorized under the provisions of
law governing the entity to execute the filing instrument.

ANASTACIO SANCHEZ

Signature of Organizer

FILING OFFICE COPY

